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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

                                                   :
Maureen Burgess,                                   :
                                                     Civil Action No.: ______
                                                   :
                        Plaintiff,                 :
        v.                                         :
                                                   :
Kream & Kream; and                                 :
                                                     COMPLAINT
DOES 1-10, inclusive,                              :
                                                   :
                        Defendants.                :
                                                   :



                For this Complaint, the Plaintiff, Maureen Burgess, by undersigned counsel, states

as follows:


                                         JURISDICTION

        1.      This action arises out of Defendants’ repeated violations of the Fair Debt

Collection Practices Act, 15 U.S.C. § 1692, et seq. (“FDCPA”), and the invasions of Plaintiff’s

personal privacy by the Defendants and its agents in their illegal efforts to collect a consumer

debt.

        2.      Supplemental jurisdiction exists pursuant to 28 U.S.C. § 1367.

        3.      Venue is proper in this District pursuant to 28 U.S.C. § 1391(b), in that the

Defendants transact business in this District and a substantial portion of the acts giving rise to

this action occurred in this District.


                                             PARTIES

        4.      The Plaintiff, Maureen Burgess (“Plaintiff”), is an adult individual residing in

Lowell, Massachusetts, and is a “consumer” as the term is defined by 15 U.S.C. § 1692a(3).
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        5.      Defendant Kream & Kream (“Kream”), is a Massachusetts business entity with an

address of 536 Broad Street, Suite 5, East Weymouth, Massachusetts 021889-1366, operating as

a collection agency, and is a “debt collector” as the term is defined by 15 U.S.C. § 1692a(6).

        6.      Does 1-10 (the “Collectors”) are individual collectors employed by Kream and

whose identities are currently unknown to the Plaintiff. One or more of the Collectors may be

joined as parties once their identities are disclosed through discovery.

        7.      Kream at all times acted by and through one or more of the Collectors.


                     ALLEGATIONS APPLICABLE TO ALL COUNTS

    A. The Debt


        8.      The Plaintiff allegedly incurred a financial obligation (the “Debt”) to a creditor

(the “Creditor”).

        9.      The Debt arose from services provided by the Creditor which were primarily for

family, personal or household purposes and which meets the definition of a “debt” under

15 U.S.C. § 1692a(5).

        10.     The Debt was purchased, assigned or transferred to Kream for collection, or

Kream was employed by the Creditor to collect the Debt.

        11.     The Defendants attempted to collect the Debt and, as such, engaged in

“communications” as defined in 15 U.S.C. § 1692a(2).


    B. Kream Engages in Harassment and Abusive Tactics

        12.     Plaintiff is currently being sued by Defendants for a debt allegedly incurred by

Plaintiff.

        13.     In March 2011 Plaintiff received a collection letter from Defendants.


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       14.     In a phone call with Defendants Plaintiff informed Richard Kream, a

representative for Defendants, that she was not able to pay the Debt due to being unemployed

and requested that Defendants stop summoning her to court.

       15.     Richard Kream stated: “I am going to bother you for the rest of your life. I am

under no obligation to leave you alone!”

       16.     Defendants threatened to freeze Plaintiff’s bank account, although at the time of

the conversation that had not secured a judgment against her.

       17.     Defendants also threatened to seize Plaintiff’s car if she did not pay the alleged

debt, although at the time of the conversation that had not secured a judgment against her.


   C. Plaintiff Suffered Actual Damages


       18.     The Plaintiff has suffered and continues to suffer actual damages as a result of the

Defendants’ unlawful conduct.

       19.     As a direct consequence of the Defendants’ acts, practices and conduct, the

Plaintiff suffered and continues to suffer from humiliation, anger, anxiety, emotional distress,

fear, frustration and embarrassment.


                                   COUNT I
                  VIOLATIONS OF THE FDCPA 15 U.S.C. § 1692, et seq.

       20.     The Plaintiff incorporates by reference all of the above paragraphs of this

Complaint as though fully stated herein.

       21.     The Defendants’ conduct violated 15 U.S.C. § 1692e(4) in that Defendants

threatened the Plaintiff with seizure of his property if the Debt was not paid.

       22.     The foregoing acts and omissions of the Defendants constitute numerous and

multiple violations of the FDCPA, including every one of the above-cited provisions.

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       23.    The Plaintiff is entitled to damages as a result of Defendants’ violations.


                                      PRAYER FOR RELIEF

              WHEREFORE, the Plaintiff prays that judgment be entered against Defendants:


                 1. Actual damages pursuant to 15 U.S.C. § 1692k(a)(1) against Defendants;

                 2. Statutory damages of $1,000.00 for each violation pursuant to 15 U.S.C.

                        §1692k(a)(2)(A) against Defendants;

                 3. Costs of litigation and reasonable attorney’s fees pursuant to 15 U.S.C.

                        § 1692k(a)(3) against Defendants;

                 4. Double or treble damages plus reasonable attorney’s fees pursuant to M.G.L.

                        c. 93A § 3(A);

                 5. Actual damages from Defendants for the all damages including emotional

                        distress suffered as a result of the intentional, reckless, and/or negligent

                        FDCPA violations and intentional, reckless, and/or negligent invasions of

                        privacy in an amount to be determined at trial for the Plaintiff;

                 6. Punitive damages; and

                 7. Such other and further relief as may be just and proper.


                          TRIAL BY JURY DEMANDED ON ALL COUNTS



Dated: April 13, 2011

                                                Respectfully submitted,

                                                By _/s/ Sergei Lemberg

                                                Sergei Lemberg (BBO# 650671)
                                                LEMBERG & ASSOCIATES L.L.C.

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